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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

DAVITA HALL                                        §
                                                   §
VS.                                                §
                                                   §          CASE NO. _________________
KOHL’S, INC., FORMERLY KNOWN AS                    §
KOHL’S DEPARTMENT STORES, INC.                     §
AND KOHL’S BAYTOWN                                 §

                                    DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant KIN, Inc. (“KIN”) files this Notice

of Removal of an action pending in the 11th District Court of Harris County, Texas, Cause No.

2021-32772, removing the case to the United States District Court for the Southern District

of Texas, Houston Division, and would respectfully show the Court as follows:

                                             Background

         1.        Plaintiff Davita Hall, (“Plaintiff”) commenced an action in the 11th District

Court of Harris County, Texas (“State Court Action”), on June 1, 2021. See Exhibit A. Plaintiffs’

Original Petition incorporates an allegation of a premises liability/negligence claim against

KIN arising from an injury sustained by Plaintiff Davita Hall when she slipped and fell in

2019.

         2.        KIN filed its Original Answer on June 25, 2021, asserting a general denial and

various defenses. See Exhibit B.

         3.        Because KIN is not a resident of Texas, diversity exists and, due to the amount

of controversy, this case is removable.



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                                          Removal is Timely

         4.        KIN was served on June 7, 2021. See Exhibit C. Pursuant to 28 U.S.C. §§ 1446(b)

and 1446(c)(1), this Notice of Removal is timely, as it is filed within 30 days of the service of

the Petition on the most recent defendant and is filed within one year of the filing of the

lawsuit.

                                           Venue is Proper

         5.        The Houston Division of the United States District Court for the Southern

District of Texas is the appropriate court for filing a Notice of Removal from the 11th District

Court of Harris County, Texas, because it is the court for the district and division embracing

the place where the State Court Action is pending. See 28 U.S.C. § 1441(a).

                                         Diversity Jurisdiction

         6.        The underlying State Court Action is one over which this Court has original

jurisdiction pursuant to 28 U.S.C. § 1332. It may be removed to this Court by KIN pursuant

to 28 U.S.C. § 1441, because the dispute is between citizens of different states, KIN is not a

citizen of the State of Texas, and the matter in controversy exceeds the sum or value of

$75,000.00, exclusive of interest and costs. See Exhibit A; De Aguilar v. Boeing Co., 11 F.3d 55,

58 (5th Cir. 1993) (if it is facially apparent from the state court petition that the amount in

controversy exceeds the jurisdictional minimum requirement, then defendant need only

point such fact out to successfully bear its burden).

         7.        Accordingly, this case is removable to the United States District Court for the

Southern District of Texas, Houston Division.




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                                                Other Matters

         8.        The following documents required by 28 U.S.C. § 1446(a) and Local Rule 81

are attached to this Notice of Removal:

         a.        Pleadings asserting causes of action, e.g., Plaintiff’s Original Petition (Exhibit
                   A),

         b.        All executed process in the case (see Exhibits B);

         c.        KIN’s Answer (see Exhibit C);

         d.        KIN’s Request for Jury Trial (Exhibit D);

         e.        An index of matters being filed (see Exhibit E);

         f.        A list of all counsel of record, including addresses, telephone numbers and

                   parties represented (see Exhibit F); and

         g.        The docket sheet (see Exhibit G).

         9.        As required by 28 U.S.C. § 1446(d), on this date written notice of the filing of

this Notice of Removal has been given to Plaintiff and a copy of this Notice of Removal has

been filed with the Clerk of the District Court of Harris County, Texas.

         10.       No admission of fact, law, or liability is intended by this Notice of Removal, and

KIN expressly reserves all defenses, affirmative defenses, and motions.




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                                                              Respectfully submitted,

                                                              By:/s/Jason Wagner___________________
                                                                 Jason Wagner
                                                                 Attorney-in-Charge
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                                                                 Federal Bar No. 20325
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                                                                 Kingwood, Texas 77339
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                                                                  ATTORNEY FOR DEFENDANT

OF COUNSEL:

WAGNER LAW, PLLC.
Two North Main Street
Kingwood, Texas 77339
Telephone: (713) 554-8450
Facsimile:  (713) 554-8451

ATTORNEY FOR DEFENDANT

                                            CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Defendant’s Notice of Removal
was served, pursuant to Federal Rule of Civil Procedure 5, via email, on this the 1st day of
July 2021, to:

                                                  Scott C. Lannie
                                         Law Offices of Scott C. Lannie, P.C.
                                                 4000 Garth Road
                                                     Suite 150
                                              Baytown, Texas 77521
                                                sclannie@aol.com
                                             (Attorneys for Plaintiff)

                                                                  /s/Jason Wagner
                                                                  Jason Wagner




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